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 5                        UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,                   No. CR-13-008-WFN-57
 8
 9                     Plaintiff,                ORDER DENYING DEFENDANT’S
10 vs.                                           MOTION FOR RECONSIDERATION
11 TERRAI MONAE TRAYLOR,                         ☒      Motion Denied
                                                        (ECF No. 935)
12
                Defendant.
13
14         Before the court by video hearing, is Defendant’s Motion for
15   Reconsideration of denial of Defendant’s release.         ECF No. 935.   Defendant
16   appeared by video in Yakima with her attorney, Michael Lynch; Assistant United
17   States Attorney Russ Smoot represented the United States and appeared in
18   Spokane.
19         On behalf of Defendant, Pastor Mark Luckie has proffered a letter
20   discussing Defendant’s involvement in the Rhema Church. He reports Defendant
21   has been active with the young adult ministry and has organized catering events.
22   She has been a speaker about her faith, attends church in training classes on
23   Sundays.   She attends an “apologetics class” Thursday evenings called Firm
24   Persuasion. As described in her grandmother’s (Jean Perkins) letter, Defendant
25   appears to have a support system among her family. Defendant allegedly uses
26   marijuana on a daily basis and has not attended substance abuse treatment. It
27   appears Defendant has no criminal history; however, her driving license currently
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     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 1
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 1   is suspended or revoked due to alleged failures to appear in Traffic Court. The
 2   charges against her are serious. There is an allegation that Defendant left a phone
 3   message that she and a Co-Defendant were going to kill a confidential informant
 4   for throwing away a large shipment of pills.
 5         The undersigned is unable to conclude there is a combination of conditions
 6   to reasonably assure that Defendant is supervisable and not a risk to the
 7   community. Her motion is denied.
 8         IT IS ORDERED Defendant’s Motion for release from custody, ECF No.
 9   935, is DENIED. Defendant shall remain in the custody of the U.S. Marshal
10   pending further order of the court.
11         If the Defendant seeks review of this Order pursuant to 18 U.S.C. § 3145(b),
12   attorney for Defendant shall file a written motion for revocation or amendment of
13   this Order within ten (10) days before the district judge to whom this case is
14   assigned and note it for hearing at the earliest possible date. Both parties are
15   responsible to ensure the motion is determined promptly.
16         DATED May 9, 2013.
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18                             S/ CYNTHIA IMBROGNO
                         UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION - 2
